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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA,                        )
                                                  )
                Plaintiff,                        )
                                                  )       1:98-cr-121-08 SEB-DKL
        vs.                                       )
                                                  )
 DEBRA ROBINSON,                                  )
                                                  )
                Defendant.                        )


  ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

        The Court, having reviewed the Magistrate Judge’s February 13, 2013 Report and

 Recommendation at Docket No. 129, and being duly advised in the premises, now adopts the same

 as the ruling of the Court. Accordingly, the issues addressed in the Petition to Revoke Defendant’s

 term of Supervised Release filed on June 3, 2010, are resolved. Defendant’s term of supervised

 release shall continue under the same terms and conditions previously imposed, with no additional

 sanctions

        IT IS SO ORDERED.

 Date: 02/25/2013
                                                           _______________________________
                                                            SARAH EVANS BARKER, JUDGE
                                                            United States District Court
                                                            Southern District of Indiana
 Copies to:

 Electronically registered counsel of record

 USPO
 Attn: Troy Adamson

 USM
 Attn: David Campbell
